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                       IN TH E U NITED STATE S D ISTR ICT CO UR T
                      FO R TH E SO UT H ER N D ISTR ICT O F FL O R ID A

                CA SE N O .9:I7-CV -8IZ6I-D IM ITRO U LEA S/M A TTH EW M AN

  A LL-TAG CORP.,
                     Plaintiff,                              FILED BY                   D.C .

                                                                    MAï 13 2219
                                                                    ANGELA E.NOBLE
                                                                    CLERK U S DIST.CI
  CHECKPOINT SYSTEM S lN C .,                                       s.o.oFFkà.-w.RB.
                     ,


                     D efendant.

     ORDER SETTING H EARING AND REO UIRING FURTHER CONFERRAL AND
                                   FILIN G O F JO INT N O TIC E

         TH IS CA U SE is before the Court upon D efendant Checkpoint System s, lnc.'s

  (iûDefendant'') M otion to Enforce Protective Order and lmpose Sanctions for Violation of
  ProtectiveOrder(DE 127).ThismatterwasreferredtotheundersigneduponanOrderreferringa11
  discovery m attersto the undersigned for appropriate disposition.See D E 51.Because the parties

  are unableto resolvethism atterw ithoutCourtintervention,itishereby O RD ER ED thata hearing

  on D efendant's M otion to Enforce Protective Order and Im pose Sanctions for V iolation of

  ProtectiveOrder(DE 1271shallbeheldasfollows:
                              D A TE:        Thursday,June 6,2019
                              TIM E:         2:00 P.M .
                              PLA CE:        U nited States D istrictCourt
                                             701 Clem atis Street
                                             W estPalm Beach,Florida
                                             Courtroom :6,Third Floor

  The Courtnotesthat,atthistim e,D efendanthas only filed a redacted version ofitsM otion atDE

  127 and has not yet tiled an unredacted, sealed version of the M otion. This Court granted


                                                1
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  DefendantleavetofiletheunredactedM otionundersealonM ay6,2019(DE 1291.1Defendantis
  O R DER ED to file the unredacted sealed M otion forthw ith.

          Further,in advance ofthe scheduled hearing,the Courtdirectsthatcotm selforthe parties

  shallfurtherconfer,either in person orby telephone,in good faith and foraslong as necessary to

  address the pending discovery dispute.Thereafler,the parties shalltile,on or before M onday,

  June 3,2019,a JointN otice advising w hetherthe discovery disputehas been resolved,and ifnot,

  w hatspecitic issuesrem ain fordeterm ination by the Courtand a briefrecitation ofthe position of

  each party on the specific dispute.
                                                                $
          DONE and ORDERED inChambersthis /T Q ayofM ay, 2019,atW estPalm                              Beach,

  Palm Beach County in the Southem DistrictofFlorida.


                                                    V Vx
                                                    W ILLIA M M A TT EW M AN
                                                    UN ITED STA TES M A G ISTR ATE JU DG E




  1Docket Entry 130 retlects that the M otion was 5led under seal. However,upon closer review, it appears that
  Defendanttimely filed undersealthe unredacted exhibitsto itsM otion atDE 130,butthe unredacted M otion w asnot
  included in the docum ents filed.

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